                        UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION
In the Matter of:                                }
JAMES P. HAFNER                                  }    CASE NO. 17-82779-CRJ-7
SSN: XXX-XX-4908                                 }
SUSAN D. HAFNER                                  }
SSN: XXX-XX-5652                                 }    CHAPTER 7
                       Debtor(s).                }

RAY CRUMPTON                                     }    AP NO. 17-80105-CRJ-13
                                                 }
                       Plaintiff(s),             }
       v.                                        }
                                                 }
JAMES P. HAFNER                                  }
                                                 }
                       Defendant(s).             }


                         ORDER TO SHOW CAUSE WHY
                ADVERSARY PROCEEDING SHOULD NOT BE DISMISSED

       On January 9, 2018, the Court entered an Order Granting Motion for Abstention and Stay of

this Proceeding, to allow movant to liquidate his claims against the Debtor in State Court. No Action

has taken place in the above-captioned Adversary Proceeding since the Court entered the Order of

Abstention.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that counsel for the

parties must appear on January 7, 2019 at 10:00 a.m. before the Honorable Clifton R. Jessup, Jr. at

the United States Bankruptcy Court, 400 Well Street, Decatur, AL and show cause why this

Adversary Proceeding should not be dismissed.



Dated this the 11th day of December, 2018.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge




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